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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:06CR243
      vs.                                   )
                                            )                    ORDER
JAMAAR HOLIDAY,                             )
                                            )
                    Defendant.              )



       This matter is before the court on defendant's unopposed MOTION TO ENLARGE TIME
TO FILE PRETRIAL MOTIONS [45]. For good cause shown, I find that the motion should be
granted in part. The defendant will be given an approximate 21-day extension. Pretrial
Motions shall be filed by November 13, 2006.

      IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [45] is
granted. Pretrial motions shall be filed on or before November 13, 2006.

      2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October
23, 2006 and November 13, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

      DATED this 23rd day of October, 2006.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
